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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                             No. 21-cr-399 (RDM)
         Plaintiff,
v.

ROMAN STERLINGOV

         Defendant.




     DEFENSE'S SECOND MOTION REQUESTING FULL ACCESS TO
     DEFENDANT TO PREPARE FOR TRIAL AND TRANSFER TO AN
                APPROPRIATE FEDERAL FACILITY
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                                          Introduction
       Mr. Sterlingov is the Defendant in the above-captioned matter whose trial is scheduled

for September 14, 2023. He is currently incarcerated pretrial at the Rappahannock Regional Jail

(“Jail”) in Rappahannock, Virginia to which he was transferred from the Northern Neck

Regional Jail in Warsaw, Virginia after Defense Counsel filed a motion with this Court

complaining of a lack of access to Mr. Sterlingov for the purposes of preparing for his trial.

Upon arrival for what the Defense believed would be an attorney visit in an attorney room at the

Jail, Jail employees told Defense Counsel that they have been instructed by the United States

Marshals not to allow Defense Counsel access to Mr. Sterlingov in a private attorney room to

prepare for trial. The conditions under which Mr. Sterlingov has been, and is being, held has and

continues to compromise preparation of his Defense. Despite the only justifications for pretrial

detention of a defendant being the safety of the community (Mr. Sterlingov is no threat) and

assurance that the Defendant will show up for trial, Mr. Sterlingov is being denied full access to

his lawyers and defense team and is being held under punitive conditions.

       Upon being moved to the Rappahannock Regional Jail, Mr. Sterlingov was placed in

solitary confinement. He is currently locked in a cell with one other inmate 23 hours a day.

       Mr. Sterlingov does not have access to discovery to prepare for trial. Defense counsel

spent substantial time and money getting Mr. Sterlingov access to discovery while he was

incarcerated at the Northern Neck Regional Jail. At the Northern Neck Regional Jail, Mr.

Sterlingov had a hard drive with most of the discovery materials. Additionally, Mr. Sterlingov

had a significant amount of paper documents that he was using to prepare for trial. Upon his

move to the Rappahannock Regional Jail, none of his materials were transferred with him.
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        On August 11, 2023, Defense counsel travelled to Rappahannock, Virginia with expert

witness J.W. Verret to prepare for trial. The Jail did not allow Defense counsel nor the expert

witness to visit Mr. Sterlingov in a confidential attorney client room. The Jail restricted the

Defense to communicating with Mr. Sterlingov through a glass barrier, in a room containing

video cameras and microphones.

        Since Mr. Sterlingov’s transfer to Rappahannock Regional Jail, there have been many

issues with communicating with Mr. Sterlingov. Despite Defense attorney phone numbers being

submitted to the Jail, Mr. Sterlingov’s calls require payment and are limited in duration. This

issue was finally resolved this morning.

        This Court should order the Jail to provide full access to Mr. Sterlingov, or in the

alternative, release Mr. Sterlingov to his attorneys under pretrial supervision as he is not a threat

to the community, he is determined to show up to trial to fight these baseless charges, and there

is no weight to the Government's evidence as there is no corroborating evidence for its case built

on junk science block chain forensics for which there is no scientific evidence for its accuracy,

nor known error rates.

                                               Legal Standard
        The Sixth Amendment to the Constitution protects criminal defendants’ rights to

attorney-client communication and effective assistance of counsel. "[I]t has long been recognized

that the essence of the Sixth Amendment right is privacy of communication with counsel."1 This

District has repeatedly upheld protections on the free flow of communication between defendants

and their attorneys.2



1
  See Weatherford v. Bursey, 429 U.S. 545, 563, 97 S.Ct. 837, 51 L.Ed.2d 30 (1977) (Marshall, J., dissenting)
(internal quotation marks and ellipsis omitted).
2
  See U.S. v. Eniola, 893 F.2d 383 (D.C. Cir. 1990); Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978).
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        U.S. v. Eniola discusses the importance of attorney-client communication and the Sixth

Amendment right to effective assistance of counsel.3 Campbell v. McGruder sets out the general

framework for analyzing the rights of pretrial detainees, which includes the presumption of

innocence and the need to balance the detainee's liberty interests against the state's need to

protect the community.4

        In Eniola the court held that “the sixth amendment protects the defendant against

intrusions that could inhibit the free exchange of information between attorney and client.”5

When the government uses pre-textual excuses to deny access, courts in this District have

repeatedly found that improper. For example, in Hatim v. Obama, the court found that the

government's new search procedures were an exaggerated response to overstated security

concerns, and that the rationales offered by the government were but a pretext for the real

purpose, which was to restrict detainees' access to counsel.6

        The Bureau of Prisons has set standards for jailers’ conduct concerning attorney-inmate

access. BOP in-person legal visits at pretrial facilities are governed by national Program

Statement 1315.07: Inmate Legal Activities. The Policy states, in part, that the Warden may not

“limit the frequency of attorney visits since the number of visits necessary is dependent upon the

nature and urgency of the legal problems involved.”7 In addition, the Policy states that “the

Warden shall set the time and place for visits.”8 Program Statement 7331.04: Pretrial Inmates




3
  Eniola, 893 F.2d at 387.
4
  Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978).
5
  U.S. v. Eniola, 893 F.2d 383 (D.C. Cir. 1990).
6
  Hatim v. Obama, 760 F.3d 54, 57 (D.C. Cir. 2014).
7
  Report and Recommendations Concerning Access to Counsel at the Federal Bureau of Prisons’ Pretrial Facilities,
ADVISORY GROUP OF DOJ COMPONENTS § II A 1(July 20, 2023) (available at: https://www.justice.gov/d9/2023-
07/2023.07.20_atj_bop_access_to_counsel_report.pdf).
8
  Id.
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provides additional guidance regarding access to legal resources, stating that “the Warden shall

provide the opportunity for pretrial inmate-attorney visits on a seven-days-a-week basis.”9

                 Nearly every stricture of the jail's regimen will prevent the pretrial
                 detainee from doing what he would be otherwise free to do. The
                 very conditions of confinement are additional deprivations of
                 liberty. They are also punishment, and, as the restrictions of the jail
                 accumulate, the detainees’ punishment becomes more severe.10


                                                Argument
        Mr. Sterlingov’s pre-trial detention in the Rappahannock Regional Jail is materially

impacting his defense. The pretextual, unconstitutional behavior of his jailers has significantly

added to the time and expense involved in this defense. This is to say nothing of the Jail’s

substandard conditions, nutrition and medical care which is directly impacting Mr. Sterlingov’s

health. Mr. Sterlingov has been convicted of no crime, yet he is being punished as if he has. The

only purpose of pretrial detention is to assure the Defendant’s appearance in Court, as Mr.

Sterlingov has not been found to be a threat to the community. What is happening here goes far

beyond that and is a direct violation of his constitutional rights.

        Mr. Sterlingov’s pretrial solitary confinement violates his 8th Amendment rights to be

free of cruel and unusual punishment. Mr. Sterlingov has not been provided with any

justification for his pretrial solitary confinement. Quarantine is an unacceptable justification for

incarcerating an innocent Defendant pretrial where the defendant has passed all required COVID

tests. The psychological and physical effects of solitary confinement are well documented. Mr.

Sterlingov has not been convicted of any crime. But this system constantly treats him like he has

been.

9
 Id.
10
  Campbell v. McGruder, 580 F.2d 521 (D.C. Cir. 1978) citing Cummings v. Missouri, 71 U.S. 277, 321-22 (1867);
Brown v. Wilemon, 139 F.2d 730, 732 (5th Cir. 1944), cert. denied sub nom., Wilemon v. Bowles, 322 U.S. 748
(1944).
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        This case is a complex case involving multiple matters of first impression in relation to

Bitcoin, the blockchain and untested blockchain forensics. There is a significant volume of

electronic discovery. The Jail has denied Mr. Sterlingov access to and time with Defense counsel

necessary to review the voluminous discovery in this case and prepare his defense. Speaking

with Mr. Sterlingov through phone calls, video visit, or through the glass in [the] lobby area is

insufficient for these purposes. Moreover, it puts him under the purview of the prying eyes and

ears of a Jail seeking to curry favor with its federal contractors.

        Sec. G.2.2.b of the Federal Performance Based Detention Standards Handbook directs

facilities housing federal inmates to ensure uncensored contact with attorneys and authorized

representatives.11 The Jail is in direct violation of this standard and the Constitution.


            1. The Court Should Order the Jail to Provide Full Access to Mr. Sterlingov

        Early in the representation, Defense counsel was able to speak with Mr. Sterlingov over

Zoom through which multiple individuals would be able to speak with Mr. Sterlingov at the

same time. The Northern Neck Regional Jail then limited video-call access to communications

through Securus. The Securus video platform does not facilitate multiple people joining a video

call and limits Mr. Sterlingov’s video communications to a single person at a time. This makes it

difficult for Mr. Sterlingov to work with his full defense team of lawyers and experts. Moreover,

the Securus software is buggy, repeatedly glitches and is unreliable. Similarly, the phone system

at the jail does not allow users to conference in multiple callers, limits calls to 15 minutes, and

the audio quality renders the conversation inaudible and incomprehensible at points. This

prevents Mr. Sterlingov from working with his attorneys and expert witnesses in a productive

manner, increases transaction costs, and the time it takes to do everything. Likewise,

11
  Federal Performance Based Detention Standards Handbook, Rev 11, §G.2.2.b (May 2022) (available at:
https://www.usmarshals.gov/sites/default/files/media/document/detention-standards.pdf).
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communicating with Mr. Sterlingov through glass in the jail lobby is insufficient. Defense

counsel needs Mr. Sterlingov to be able to work with them on computers to review records,

provide context to documents, contribute to his defense.

         Currently, at the Rappahannock Regional Jail, Defense Counsel is only able to

communicate with Mr. Sterlingov through a glass barrier. Mr. Sterlingov’s phone calls are

limited. This is unconstitutional. Mr. Sterlingov has a right to put on a complete defense, and

complete, unsurveilled access to Defense Counsel and expert witnesses is key to preparation for

trial.


            2. Mr. Sterlingov is Currently Denied Access to the Discovery and Cannot
               Prepare for the Upcoming Trial

         When transferred from the Northern Neck Regional Jail to the Rappahannock Regional

Jail, Mr. Sterlingov was not allowed to bring any of his papers, documents, or notes with him.

These materials included substantial papers that Defense Counsel printed and mailed to him.

Furthermore, Mr. Sterlingov was not allowed to take the hard drive containing all the Discovery

in this case that he had at the Northern Neck Regional Jail. This situation prevents him from

preparing for trial on the eve of trial, and Mr. Sterlingov needs to be granted access to his

discovery immediately.

         Mr. Sterlingov currently has no computer access at the Rappahannock Jail and cannot

review any of the electronic discovery provided to him by the Government. The electronic

discovery in this case is substantial. This is a first-of-its-kind cryptocurrency case in which the

Government has brought forth absolutely no corroborating evidence, and is relying completely

upon complex algorithmic blockchain tracing software licensed to it by its for-profit, black box,

blockchain surveillance vendor, Chainalysis, Inc., for which there is no scientific evidence as to

its accuracy, and which Chainalysis admits it doesn't know the error rates for.
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       This is not a typical case. The Government’s entire misguided prosecution relies almost

entirely upon electronic materials. Mr. Sterlingov has access to none of them. The Government

doesn't have a single eyewitness to anything they're accusing Mr. Sterlingov of. We are currently

less than one moth out from trial, and Mr. Sterlingov needs to be able to review discovery

immediately.


           3. The Current State of Mr. Sterlingov’s Defense is Punitive and Violates his
              Eighth Amendment Rights

       Mr. Sterlingov’s detention in solitary confinement, and restrictions on complete access to

his attorneys is punitive and is a violation of his Eighth Amendment Rights under the

Constitution. Mr. Sterlingov has not been convicted of any crime, but he is being treated as

though he has. If the Federal Government is incapable of providing adequate facilities for pretrial

detainees, as appears to be the case, then this Court should release Mr. Sterlingov to his attorneys

under the supervision of Pretrial Services.


           4. The Lack of Access to the Client Renders the Application of Fed. R. Crim.
              Pro. 16(c) Unconstitutional

       Mr. Sterlingov’s pretrial detention conditions have made it difficult for him to

communicate with his experts in this case. This has unnecessarily delayed the ability of the

Defense to provide fulsome expert reports. Given this, Fed. R. Crim. Pro. 16(c) is

unconstitutional as applied to the extent that it is applied as a bar to any expert testimony.

       The recently amended Fed. R. Crim. Pro. 16(c) has yet to be challenged at trial in this

District. The 2022 amendments generate extensive obligations for the Defense to provide

fulsome expert witness disclosure that was not required under the previous version of Rule 16

that was in effect when this case began. Mr. Sterlingov’s ongoing pretrial detention makes it
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difficult, if not, impossible for him to comply with his obligations under the new version of the

rule.

                                            Conclusion
        This Court should order the Jail to provide Mr. Sterlingov’s Defense counsel immediate

and full access in the Jail’s attorney-client room to prepare for his September 2023 trial. As per

federal regulations, access should be provided 24-hours a day, seven days a week. Additionally,

this Court should order the transfer of Mr. Sterlingov as soon as possible from the punitive

substandard conditions he is being held in at the Jail to the federal facility at Alexandria,

Virginia, or another appropriate federal facility near the courthouse. The current failure of the

federal government to detain Mr. Sterlingov pretrial under conditions allowing him to prepare his

defense in this complex and novel prosecution is a direct violation of his Fifth, Sixth and Eighth

Amendment rights under the United States Constitution and has materially impacted and delayed

his defense. If the Government cannot provide constitutional facilities for Mr. Sterlingov’s

pretrial detention, then this Court should order his immediate release pretrial so that he can

adequately prepare his defense.
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Dated: August 16, 2023
Lake Tahoe, California


                                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of August 2023, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Tor Ekeland

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